Case 22-10609-amc          Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                   Desc
                               Proposed Order Page 1 of 8



                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
 In re:                                               :   Chapter 11
                                                      :
 SCUNGIO BORST & ASSOCIATES, LLC,                     :   Case No. 22-10609 (AMC)
                                                      :
                         Debtor.                      :
                                                      :

    ORDER GRANTING THE PLAN TRUST ADMINSTRATOR’S FIRST OMNIBUS
        OBJECTIONS TO CLAIMS AND REQUEST FOR EXPUNGEMENT

          AND NOW, this _____ day of ______________, 2024, upon consideration of the SBA

Plan Trust’s First Omnibus Objections to Proofs of Claim and Scheduled Claims (collectively,

the “Claims”), and Request for Expungement (collectively, the “Objections”) filed by Stephen J.

Scherf, SBA Plan Trust Administrator (the “Trust Administrator”) of the SBA Plan Trust (the

“Trust”); and notice having been duly provided to all claimants and parties in interest under

Federal Rule of Bankruptcy Procedure 3007 and Local Bankruptcy Rule 3007-1; and any

response filed thereto; and after notice and a hearing; and this court finding that any opposition

to the relief requested in the Objections has been either withdrawn or over ruled, and for the

additional reasons stated on the record on the date of the hearing, it is hereby

          ORDERED that the Objections are hereby SUSTAINED; and it is further

          ORDERED that the Claims set forth on Exhibit “A” to the Objections and attached

hereto are hereby disallowed and expunged as set forth on Exhibit “A” pursuant to 11 U.S.C. §

502(b)(9) as being filed after the applicable bar date for filing proofs of claim; and it is further

          ORDERED that the Claims set forth on Exhibit “B” to the Objections and attached

hereto are hereby disallowed and expunged as set forth on Exhibit “B” pursuant to 11 U.S.C. §

502(b)(1) as having been satisfied, waived and/or released during the bankruptcy case in




4867-8253-3077 v2
Case 22-10609-amc          Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                Desc
                               Proposed Order Page 2 of 8



connection with the Debtor’s settlement with KPG-MCG Curtis, or in accordance with the

Debtor’s confirmed Plan and the Bankruptcy Code; and it is further

         ORDERED that the Claims set forth on Exhibit “C” to the Objection and attached hereto

are hereby disallowed and expunged as set forth on Exhibit “C” pursuant to 11 U.S.C. §

502(b)(1) as being noncompliant with the Bankruptcy Rules rendering the Trust Administrator

unable to determine if the claims are valid; and it is further

         ORDERED that the Claims set forth on Exhibit “D” to the Objection and attached hereto

are hereby disallowed and expunged as set forth on Exhibit “D” pursuant to 11 U.S.C. §§ 501

and 502(a) as lacking supporting Proof of Claim filings and therefore noncompliant with the

Bankruptcy Rules; and it is further

         ORDERED that the clerk of the court shall reflect the reduction, expungement and

elimination, or disallowance of the Claims set forth on Exhibits “A”, “B”, “C”, and “D” as

indicated, from the Court’s official claims register; and it is further

         ORDERED that the Trust Administrator is authorized and empowered to take such

actions as may be necessary and appropriate to implement the terms of this Order.



                                               BY THE COURT:



                                               Honorable Ashely Chan
                                               Chief United States Bankruptcy Judge




4867-8253-3077 v2                                  2
        Case 22-10609-amc     Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                                    Desc
                                  Proposed Order Page 3 of 8

                                          Exhibit A: Untimely Filed Proofs of Claim
                                                                                                                    Omnibus
                             Schedule F     Schedule F                                    Allowed       Disputed
                  Creditor                             C, U, D POC# POC Amount                                      Objection
                              Amount           No.                                         Claim         Claims
                                                                                                                   Paragraphs
1st Black Hawk LLC
715 East Nields Street       $196,191.95            3.1            76      $196,191.95    $196,191.95                20-22
West Chester, PA 19380
United Rentals
P.O. Box 100711               $35,453.02         3.151             77        $49,491.20                              20-22
Atlanta, GA 30384-0711




4889-1864-0598 v3-10/18/24                                     1
        Case 22-10609-amc                 Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                                        Desc
                                              Proposed Order Page 4 of 8

                                           Exhibit B: Satisfied, Released, and/or Waived Proofs of Claim
                                       Schedule F Schedule F                                          Allowed      Disputed     Omnibus Objection
                  Creditor                                       C, U, D    POC#     POC Amount
                                        Amount         No.                                             Claim        Claims        Paragraphs
AA Glass Industries LLC
                                                                         Amended
2345 Route 9, Unit #3                   $46,431.26         3.6                         $54,131.31                  $54,131.31         23-27
                                                                            9
Toms River, NJ 08755
Bristol Millwork Inc.
4560 Tacony Street                     $146,655.40        3.31     C         49      $146,655.40                  $146,655.40         23-27
Philadelphia, PA 19124
Cippco Inc.
9323 Keystone Street                   $151,981.07        3.36 C, U, D       32      $174,420.29                  $174,420.29         23-27
Philadelphia, PA 19114
Component Assembly Systems, Inc.
580 Virginia Drive, Suite 140                $0.00        3.39 C, U, D                                    $0.00                       23-27
Fort Washington, PA 19034
DDM Steel
3659 North Delsea Drive                 $44,784.69        3.44     C         53        $64,857.00                  $64,857.00         23-27
Vineland, NJ 08360

Eckert Seamans Cherin & Mellott, LLC
2 Liberty Place
                                              N/A         N/A                70        $16,225.00                  $16,225.00         23-27
50 S. 16th Street, 22nd Floor
Philadelphia, PA 19102

Elite Painting Service
                                                                         Amended
600 Deer Road, Suite 10                 $87,860.00        3.56                         $97,700.00                  $97,700.00         23-27
                                                                           27
Cherry Hill, NJ 08034
Freedom Glass & Metal, Inc.
4 White Horse Pike                      $92,071.68        3.58     C         40        $92,071.68                  $92,071.68         23-27
Clementon, NJ 08021
Hasan Tahiraj
c/o Mullaney & Gjelaj, PLLC
                                             $0.00        3.67 C, U, D                                    $0.00                       23-27
100-09 Metropolitan Avenue
Forest Hills, NY 11375
James Floor Covering Inc.
2604 Durham Road                        $70,562.82        3.76 C, U, D                                    $0.00                       23-27
Bristol, PA 19007
KLS Logistics, Inc.
c/o DHL Supply Chain (USA)
Attn: Legal Department                       $0.00        3.83 C, U, D                                    $0.00                       23-27
360 Westar Boulevard
Westerville, OH 43082
KPG-MCG Curtis Tenant LLC
Keystone Property Group
                                             $0.00        3.84 C, U, D                                    $0.00                       23-27
125 E. Elm Street, Suite 400
Conshohocken, PA 19428
Network Flooring & Maintenance
101 W Abbey Drive                       $25,177.29       3.105               13        $26,447.29                  $26,447.29         23-27
Townsend, DE 19734
Pennsylvania Flooring
66 Ford Road, Suite 141                $117,611.40       3.114     C         47       $155,912.40                 $155,912.40         23-27
Denville, NJ 07834
Philip Borst
641 Pugh Road                          $213,000.00       3.117               57       $231,000.00                 $231,000.00         23-27
Wayne, PA 19087
Revolution Recovery LLC
7333 Milnor Street                       $6,930.10       3.126               37         $8,631.60                   $8,631.60         23-27
Philadelphia, PA 19036
Superior Scaffold Services Inc.
600 Center Avenue                       $15,552.57       3.143     C         18        $28,409.28                  $28,409.28         23-27
Bensalem, PA 19020
Towne and Country Roofing & Siding
4775 Lerch Road                         $34,355.44       3.148     C         6         $48,097.61                  $48,097.61         23-27
Bensalem, PA 19020




4889-1864-0598 v3-10/18/24                                               1
        Case 22-10609-amc                 Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                                         Desc
                                              Proposed Order Page 5 of 8

                                          Exhibit C: Claims Not in Compliance with the Bankruptcy Rules
                                                                                                                                      Omnibus
                                        Schedule F    Schedule F                                         Allowed      Disputed
                  Creditor                                       C, U, D        POC#     POC Amount                                   Objection
                                         Amount          No.                                              Claim        Claims
                                                                                                                                     Paragraphs
Bursese Electric Inc.
1275 Bloomfield Avenue, Building 1-
                                         $88,663.55         3.32                 69      $100,668.90                  $100,668.90      28-32
6AR
Fairfield, NJ 07004
Buttonwood Company, Inc.
P.O. Box 500                             $78,410.00         3.34                 21       $86,420.00                   $86,420.00      28-32
Eagleville, PA 19408
Cippco Inc.
9323 Keystone Street                    $151,981.07         3.36 C, U, D         32      $174,420.29                  $174,420.29      28-32
Philadelphia, PA 19114
Corporate Interiors Inc.
226 Lisa Drive                           $15,252.32         3.41                 29        $16,007.55                  $16,007.55      28-32
New Castle, DE 19720
Cypress Door & Glass LLC
185 Lancaster Avenue                    $108,086.13         3.43                 75       $123,908.00                 $123,908.00      28-32
Malvern, PA 19355
DDM Steel
3659 North Delsea Drive                  $44,784.69         3.44    C            53        $64,857.00                  $64,857.00      28-32
Vineland, NJ 08360
East Third Media, LLC
c/o Wright Partners
Attn: Carl Wright                             $0.00         3.53 C, U, D         14       $416,830.05                 $416,830.05      28-32
20 South Olive Street, Suite 203
Media, PA 19063
EC Fence & Iron Works Inc.
                                                                               Amended
2941 Felton Road                         $18,039.00         3.54                           $37,689.00                  $37,689.00      28-32
                                                                                 43
Norristown, PA 19401
Edward B. O'Reilly & Associates, Inc.
30 West Highland Avenue                 $149,729.15         3.55                  5       $161,707.48                 $161,707.48      28-32
Philadelphia, PA 19118
Action Store Fronts, Inc.
Attn: Jeffrey M. Farinacci
                                               N/A          N/A                  58       Unliquidated                Unliquidated     28-32
263 Union Blvd.
West Islip, NY 11795
Fromkin Brothers Inc.
4510 Adams Circle, Unit E               $172,641.01         3.59                 73       $207,686.51                 $207,686.51      28-32
Bensalem, PA 19020
Genova, Burns, Giantomasi & Webster
                                                                               Amended
2 Riverside Drive                         $2,722.50         3.62                            $8,175.75                   $8,175.75      28-32
                                                                                  4
Camden, NJ 08103
Hanover Insurance Company
Attn: Bari K. Shinbaum, Esquire
Hanover Insurance Co.
                                               N/A          N/A                  59       Unliquidated                Unliquidated     28-32
Manson & McCarthy
17 State Street, 8th Floor
New York, NY 10004
HK Panels Systems
1500 Industry Road, Suite G              $21,999.50         3.71                 65        $30,550.40                  $30,550.40      28-32
Hatfield, PA 19440
Kevin J. Bailey & Son LLC
917 Northwood Avenue                     $33,668.11         3.82                 63        $62,264.30                  $62,264.30      28-32
Cherry Hill, NJ 08002
MAC Sprinkler Inc.                                                              Second
3812 W. 9th Street                       $20,562.91         3.91               Amended     $20,562.92    $20,562.92                    28-32
Levittown, PA 19057                                                               10
Massachusetts Bay Insurance Company
c/o Brian W. Bisignani, Esquire
Post & Schell PC                               N/A          N/A                  60       Unliquidated                Unliquidated     28-32
1869 Charter Lane
Lancaster, PA 17601




4889-1864-0598 v3-10/18/24                                                 1
        Case 22-10609-amc                  Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                                         Desc
                                               Proposed Order Page 6 of 8

                                           Exhibit C: Claims Not in Compliance with the Bankruptcy Rules
                                                                                                                                       Omnibus
                                         Schedule F    Schedule F                                        Allowed        Disputed
                  Creditor                                        C, U, D        POC#     POC Amount                                   Objection
                                          Amount          No.                                             Claim          Claims
                                                                                                                                      Paragraphs
Mayfield Site Contractors
596 Swedeland Road                       $149,200.00         3.94                 64       $192,140.27                  $192,140.27     28-32
King of Prussia, PA 19406
McCarthy Masonry and Concrete, Inc.
740 E. Cherry Road                       $114,620.63         3.95                 11       $127,808.12                  $127,808.12     28-32
Quakertown, PA 18951
Med-Tex Services Inc
P.O. Box 240                                 $680.00         3.96               3 & 24        $902.18                       $902.18     28-32
Penns Park, PA 18943
Morris Black & Sons, Inc.
984 Marcon Blvd.                           $9,979.34         3.99                 17        $12,350.01                   $12,350.01     28-32
Allentown, PA 18109
Nerd Street Gamers Localhost
Philadelphia, LLC
Attn: John Fazio, CEO                          $0.00        3.104 C, U, D         72       $746,102.00                  $746,102.00     28-32
908 North Third Street
Philadelphia, PA 19123
Northeast Fire Proofing
608 Ryan Avenue                           $11,996.39        3.108                 45        $16,596.39                   $16,596.39     28-32
Westville, NJ 08093
Pennsylvania Flooring
66 Ford Road, Suite 141                  $117,611.40        3.114    C            47       $155,912.40                  $155,912.40     28-32
Denville, NJ 07834
Reilly Glazing Inc
200 E. Washington Street                 $176,233.00        3.125                 61       $192,124.50                  $192,124.50     28-32
Norristown, PA 19401
RW Professional Cleaning LLC
112 Curnard Street                        $37,414.75        3.129    C            74        $58,754.75                   $58,754.75     28-32
Wilmington, DE 19804
Schaibles Mechanical LLC
                                                                                Amended
241 Van Syckles Road                      $33,374.47        3.132                           $28,302.30   $28,302.30                     28-32
                                                                                  50
Hampton, NJ 08827
Schaibles Plumbing & Heating, Inc.
c/o DL Thompson Law, PC
                                                N/A          N/A                  51        $37,517.38                   $37,517.38     28-32
P.O. Box 679
Allenwood, NJ 08720

Scope FLP Pennington SM, LLC
Attn: Didier Choukroun, Manager
One Biscayne Tower                             $0.00        3.134 C, U, D         56       $647,407.79                  $647,407.79     28-32
2 South Biscayne Boulevard, Suite 2000
Miami, FL 33131

Scungio & Company
117 Moore Drive                           $97,832.00        3.135                                        $97,832.00                     28-32
Media, PA 19063
Scungio Borst International
117 Moore Drive                           $15,168.00        3.136                                        $15,168.00                     28-32
Media, PA 19068
Shopping Center Associates
c/o Simon Construction Group
Attn: Michael E. McCarty, President            $0.00        3.139 C, U, D         48                                  $2,623,038.65     28-32
225 West Washington Street, 9th Floor
Indianapolis, IN 46204
Summit Architectural Metals & Glass
920 Eldridge Drive, Suite G               $79,015.11        3.142                 66       $116,006.03                  $116,006.03     28-32
Hagerstown, MD 21740
Superior Scaffold Services Inc.
600 Center Avenue                         $15,552.57        3.143    C            18        $28,409.28                   $28,409.28     28-32
Bensalem, PA 19020




4889-1864-0598 v3-10/18/24                                                  2
        Case 22-10609-amc              Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                                 Desc
                                           Proposed Order Page 7 of 8

                                       Exhibit C: Claims Not in Compliance with the Bankruptcy Rules
                                                                                                                           Omnibus
                                     Schedule F    Schedule F                                     Allowed   Disputed
                  Creditor                                    C, U, D       POC#   POC Amount                              Objection
                                      Amount          No.                                          Claim     Claims
                                                                                                                          Paragraphs
Towne and Country Roofing & Siding
4775 Lerch Road                       $34,355.44        3.148    C           6       $48,097.61              $48,097.61     28-32
Bensalem, PA 19020
Troost Fire Protection
58 Hyatt Road                         $12,143.35        3.150                35      $13,492.61              $13,492.61     28-32
Branchville, NJ 07826
United Rentals
P.O. Box 100711                       $35,453.02        3.151                77      $49,491.20                             28-32
Atlanta, GA 30384-0711
William Walter Construction Group
LLC
Attn: Michael Barbella               $215,738.83        3.157                38     $230,466.36             $230,466.36     28-32
1431 N. Tuckahoe Road
Williamstown, NJ 08094




4889-1864-0598 v3-10/18/24                                              3
        Case 22-10609-amc      Doc 480-6 Filed 10/18/24 Entered 10/18/24 14:26:34                                  Desc
                                   Proposed Order Page 8 of 8

                             Exhibit D: Scheduled Claims with No Timely Filed Proof of Claim
                                                                                                                   Omnibus
                             Schedule F    Schedule F                                   Allowed        Disputed
                  Creditor                            C, U, D POC# POC Amount                                      Objection
                              Amount          No.                                        Claim          Claims
                                                                                                                  Paragraphs
TDR Systems Inc.
t/a CHUTES International
                               $9,458.46        3.145    C                                     $0.00                33-35
33 Industrial Park Drive
Waldorf, MD 20602




4889-1864-0598 v3-10/18/24                                   1
